
631 So.2d 379 (1994)
Reginald FONTENONT, Appellant,
v.
STATE of Florida, Appellee.
No. 93-1068.
District Court of Appeal of Florida, Fifth District.
February 11, 1994.
James B. Gibson, Public Defender and Kenneth Witts, Asst. Public Defender, Daytona Beach, for appellant.
No appearance for appellee.
PER CURIAM.
The judgment and sentence in this case are affirmed except for the assessment of a public defender's lien against the defendant. The record does not show that the defendant was advised of his right to a hearing to contest the amount of the lien as required by Florida Rules of Criminal Procedure 3.720(d)(1). See also Smith v. State, 622 So.2d 638 (Fla. 5th DCA 1993). Therefore, the public defender's lien of $300 is stricken, without prejudice to the reimposition of the lien upon remand after compliance with Florida Rules of Criminal Procedure 3.720(d)(1).
JUDGMENT and SENTENCE AFFIRMED; REVERSED and REMANDED with directions.
GOSHORN, DIAMANTIS and THOMPSON, JJ., concur.
